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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


    COAKLEY PENDERGRASS; TRIANA
    ARNOLD JAMES; ELLIOTT                         CIVIL ACTION FILE
    HENNINGTON; ROBERT RICHARDS;                  NO. 1:21-CV-05339-SCJ
    JENS RUECKERT; and OJUAN GLAZE,

                Plaintiffs,

          v.

    BRAD RAFFENSPERGER, in his official
    capacity as the Georgia Secretary of State;
    SARA TINDALL GHAZAL, in her
    official capacity as a member of the State
    Election Board; ANH LE, in her official
    capacity as a member of the State Election
    Board; EDWARD LINDSEY, in his
    official capacity as a member of the State
    Election Board; and MATTHEW
    MASHBURN, in his official capacity as a
    member of the State Election Board,

                Defendants.*


           PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF
                MOTION FOR PRELIMINARY INJUNCTION




*
  Pursuant to Federal Rule of Civil Procedure 25(d), Plaintiffs have automatically
substituted Edward Lindsey, in his official capacity, for Rebecca N. Sullivan, in her
official capacity, based on Defendants’ representation in their recently filed status
report. See Defs.’ Status Report 2 n.1, ECF No. 31.
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                                INTRODUCTION

      This case calls for a straightforward application of Section 2 of the Voting

Rights Act—no more, no less. Georgia has a Black population sufficiently large and

geographically compact to create an additional majority-Black congressional district

in the western Atlanta metropolitan area, which can be drawn without reducing the

total number of congressional districts in the newly enacted map in which Black

voters have the opportunity to elect their candidates of choice. Rather than draw this

district as required by federal law, the Georgia General Assembly instead chose to

dilute the votes of Black Georgians by engaging in textbook examples of “packing”

and “cracking.” The new congressional map packs Black voters into the Thirteenth

Congressional District and cracks others among the rural-reaching, predominantly

white Third, Eleventh, and Fourteenth Congressional Districts. Consequently,

Georgia’s new congressional districts—combined with the state’s extreme racially

polarized voting, severe socioeconomic disparities between Black and white

Georgians, and the ongoing effects of a tragic history of discrimination and racial

appeals in campaigns—deny Black Georgians equal access to the political process

in violation of Section 2.

      Without this Court’s intervention prior to the 2022 elections, Georgia will

subject its Black citizens, including Plaintiffs, to an unlawful congressional
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districting plan and irreparably violate their fundamental right to vote. Because

Plaintiffs are highly likely to succeed on the merits of their Section 2 claim, they

respectfully request that the Court preliminarily enjoin implementation of Georgia’s

enacted congressional map and ensure the creation of an additional majority-Black

district in the western Atlanta metropolitan area.

                                 BACKGROUND

      Over the past decade, Georgia’s population increased by more than 1 million

people—growth that was entirely attributable to an increase in the state’s minority

population. See Ex. 1 ¶¶ 13–14 & Fig. 1.1 While Georgia’s white population has

decreased since 2010, its Black population grew by over 15 percent and now

comprises 33 percent of the state’s total population. Id. ¶¶ 15–17, 21–22 & Fig. 3.

The growth of Georgia’s Black population has been particularly pronounced in the

Atlanta metropolitan area, where more than 60 percent of the state’s Black

community now resides. Id. ¶¶ 24–32 & Figs. 4–5.

      Notwithstanding the significant increases in Georgia’s minority communities,

the General Assembly enacted a new congressional districting plan that limits the

ability of Georgians of color—Black Georgians in particular—to participate equally


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  The exhibits are attached to the Declaration of Kevin J. Hamilton, filed
concurrently with this motion.

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in the political process. The Georgia Assembly passed the Georgia Congressional

Redistricting Act of 2021 (“SB 2EX”) with a party-line vote in the Georgia State

Senate and a near-party-line vote in the Georgia House of Representatives. See Exs.

11–12. SB 2EX proceeded through the legislative process in only six days; the speed

with which the General Assembly enacted the maps was criticized by legislators and

Georgia voters alike, who objected to the limited time for consideration and the lack

of transparency. See Exs. 11–14. Governor Brian Kemp signed SB 2EX into law at

approximately 5:00 p.m. on December 30, 2021; as The Atlanta Journal-

Constitution noted, “[w]hile there was never a doubt that Kemp would sign the

redistricting bills, he waited over a month since they passed the General Assembly.

The delay stalled legal action until the new maps were written into state law.” Ex.

15.

      SB 2EX subverts fair representation for Black Georgians by packing and

cracking Black voters in the western Atlanta metropolitan area. The new

congressional map packs the region’s Black voters into the Thirteenth Congressional

District, which includes significant Black populations in south Fulton, north Fayette,

Douglas, and Cobb Counties. The remaining Black communities in Douglas and

Cobb Counties are cracked among the Third, Eleventh, and Fourteenth

Congressional Districts—predominantly white districts that stretch into the rural


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reaches of western and northern Georgia. As a result, while the Thirteenth

Congressional District has a Black voting-age population greater than 66 percent,

the Third, Eleventh, and Fourteenth Congressional Districts have Black voting-age

populations between 14 and 24 percent, see Ex. 1 ¶ 51 & Fig. 9—meaning that Black

voters in these latter districts have no opportunity to elect their candidates of choice

to the U.S. House of Representatives.

      Plaintiffs are Black citizens of Georgia and registered voters who face

personal harm to their voting rights because of SB 2EX, which dilutes their votes by

packing and cracking members of their community among multiple congressional

districts and thus prevents them from electing their representatives of choice. See

Exs. 5–10. Plaintiffs filed their complaint only hours after Governor Kemp signed

SB 2EX into law. See Compl., ECF No. 1. The need for expedition is significant in

this case: under Georgia law, the candidate qualification period for the 2022

congressional elections begins on March 7, 2022. See O.C.G.A. § 21-2-132(d)(2);

see also Ex. 16. Absent relief from this Court, the 2022 congressional elections will

be held under an unlawful map.

                               LEGAL STANDARD

      “A preliminary injunction may be entered when a plaintiff establishes four

elements: ‘(1) a substantial likelihood of success on the merits; (2) a substantial


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threat of irreparable injury; (3) that the threatened injury to the plaintiff outweighs

the potential harm to the defendant; and (4) that the injunction will not disserve the

public interest.’” Friedenberg v. Sch. Bd., 911 F.3d 1084, 1090 (11th Cir. 2018)

(quoting Palmer v. Braun, 287 F.3d 1325, 1329 (11th Cir. 2002)).

                                    ARGUMENT

I.    Plaintiffs are substantially likely to prove that SB 2EX violates Section 2
      of the Voting Rights Act.

      Section 2 of the Voting Rights Act prohibits any “standard, practice, or

procedure” that “results in a denial or abridgement of the right of any citizen of the

United States to vote on account of race or color.” 52 U.S.C. § 10301(a). This

includes the

      manipulation of district lines [to] dilute the voting strength of politically
      cohesive minority group members, whether by fragmenting the
      minority voters among several districts where a bloc-voting majority
      can routinely outvote them, or by packing them into one or a small
      number of districts to minimize their influence in the districts next door.

Johnson v. De Grandy, 512 U.S. 997, 1007 (1994).

      To prevail on their Section 2 claim, Plaintiffs must show that (1) the minority

group is “sufficiently large and geographically compact to constitute a majority in a

single-member district”; (2) the minority group “is politically cohesive”; and

(3) “the white majority votes sufficiently as a bloc to enable it . . . usually to defeat

the minority’s preferred candidate.” Thornburg v. Gingles, 478 U.S. 30, 50–51


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(1986). Once Plaintiffs have made this threshold showing, the Court must then

examine “the totality of circumstances”—including the nine factors identified in the

Senate report that accompanied the 1982 amendments to the Voting Rights Act—to

determine whether “the political processes leading to nomination or election in the

State or political subdivision are not equally open to participation” by members of

the minority group. 52 U.S.C. § 10301(b); see also Gingles, 478 U.S. at 43–44.

      A.     Gingles One: An additional, compact majority-Black district can
             be drawn in the western Atlanta metropolitan area.

      Plaintiffs readily satisfy the first Gingles precondition because it is possible

to “creat[e] more than the existing number of reasonably compact districts with a

sufficiently large minority population to elect candidates of its choice.” League of

United Latin Am. Citizens v. Perry, 548 U.S. 399, 430 (2006) (plurality op.)

(“LULAC”) (quoting De Grandy, 512 U.S. at 1008). The numerosity requirement of

this precondition involves a “straightforward,” “objective, numerical test: Do

minorities make up more than 50 percent of the voting-age population in the relevant

geographic area?” Bartlett v. Strickland, 556 U.S. 1, 18 (2009) (plurality op.).

      Expert demographer William Cooper has offered an illustrative plan that

unequivocally satisfies the first Gingles precondition, demonstrating that the Black

community in the western Atlanta metropolitan area is sufficiently large and

geographically compact to comprise more than 50 percent of the voting-age

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population in an additional congressional district. See Ex. 1 ¶¶ 10, 42, 47 & Fig. 8,

51 & Fig. 9. Notably, compared to the enacted plan and congressional plans

nationwide, Mr. Cooper’s plan scores in the same range of average compactness. Id.

¶¶ 53–54 & Fig.10. It also complies with other traditional redistricting principles,

including population equality, contiguity, maintaining political boundaries and

communities of interest, and avoiding pairing of incumbents, see id. ¶¶ 47–49 &

Fig. 8, 55–58 & Fig. 11—all of which were guidelines adopted by the General

Assembly during this redistricting cycle. See Ex. 17.

      Moreover, Dr. Maxwell Palmer confirmed that Black voters would be able to

elect their preferred candidates in Mr. Cooper’s illustrative majority-Black district.

In the proposed district, Black-preferred candidates would have won all 31 statewide

races from 2012 through 2021, with an average of 66.7 percent of the vote. See Ex. 2

¶¶ 22–23. Plaintiffs therefore satisfy the first Gingles precondition. See Davis v.

Chiles, 139 F.3d 1414, 1425 (11th Cir. 1998) (first Gingles factor requires “an

electoral district, consistent with traditional districting principles, in which minority

voters could successfully elect a minority candidate”).

      B.     Gingles Two: Black Georgians are politically cohesive.

      Plaintiffs also satisfy the second Gingles precondition because Black voters

in Georgia are politically cohesive. See 478 U.S. at 49. “Bloc voting by blacks tends


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to prove that the black community is politically cohesive, that is, it shows that blacks

prefer certain candidates whom they could elect in a single-member, black majority

district.” Id. at 68.

       Dr. Palmer analyzed political cohesion and racially polarized voting in a focus

area composed of the four congressional districts from which Mr. Cooper’s

illustrative majority-Black district was drawn—the Third, Eleventh, Thirteenth, and

Fourteenth Congressional Districts. See Ex. 2 ¶ 9. To perform his analysis, Dr.

Palmer used precinct-level election results and voter turnout by race as compiled by

the State of Georgia and a widely accepted methodology called ecological inference

analysis. See id. ¶¶ 10, 12–13; see also Wright v. Sumter Cnty. Bd. of Elections &

Registration, 301 F. Supp. 3d 1297, 1305 (M.D. Ga. 2018) (recognizing ecological

inference as “the ‘gold standard’ for use in racial bloc voting analyses”), aff’d, 979

F.3d 1282 (11th Cir. 2020); accord Ala. State Conf. of NAACP v. Alabama, No. 2:16-

CV-731-WKW, 2020 WL 583803, at *29 n.27 (M.D. Ala. Feb. 5, 2020).

       Dr. Palmer found “strong evidence of racially polarized voting across the

focus area” and “in each of the four individual congressional districts” that comprise

it, concluding that “Black voters are extremely cohesive.” Ex. 2 ¶¶ 6, 15. In the 31

electoral contests between 2012 and 2021 that he analyzed, Dr. Palmer reported that

Black Georgians in the focus area voted as a bloc for the same candidates with an


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average of 98.5 percent of the vote. Id. ¶¶ 14–15. The same holds true for the

elections in each of the four individual congressional districts: “[o]n average, Black

voters supported their candidates of choice with 97.2% of the vote in CD 3, 96.0%

in CD 11, 99.0% in CD 13, and 95.5% in CD 14.” Id. ¶ 18. Plaintiffs therefore satisfy

the second Gingles precondition. See 478 U.S. at 56 (noting that “[a] showing that a

significant number of minority group members usually vote for the same candidates

is one way of proving the political cohesiveness necessary to a vote dilution claim”).2

      C.     Gingles Three: White Georgians engage in bloc voting to defeat
             Black-preferred candidates.

      Finally, Plaintiffs satisfy the third Gingles precondition because, in the area

where Mr. Cooper proposes a new majority-Black district, “the white majority votes

sufficiently as a bloc to enable it . . . usually to defeat the minority’s preferred

candidate.” 478 U.S. at 51.

      Dr. Palmer found high levels of white bloc voting in opposition to the

candidates whom Black voters cohesively supported. In the same 31 elections


2
  Dr. Palmer’s results confirm federal caselaw recognizing that Black voters in
various parts of Georgia vote cohesively. See, e.g., Wright, 301 F. Supp. 3d at 1313
(noting that, in ten elections for Sumter County Board of Education with Black
candidates, “the overwhelming majority of African Americans voted for the same
candidate”); Lowery v. Deal, 850 F. Supp. 2d 1326, 1329 (N.D. Ga. 2012) (“Black
voters in Fulton and DeKalb counties have demonstrated a cohesive political identity
by consistently supporting black candidates.”).

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between 2012 and 2021 discussed above, white voters in the focus area

overwhelmingly opposed Black voters’ candidates of choice: an average of only 11.5

percent of white voters supported Black-preferred candidates, and in no election did

white support exceed 16 percent. Ex. 2 ¶¶ 6, 16. Accordingly, “Black-preferred

candidates are largely unable to win elections in the focus area. Across an analysis

of 31 statewide elections from 2012 to 2021, the Black-preferred candidate lost

every election in the focus area.” Id. ¶ 7. The same is true when analyzing the

elections on a district-by-district basis: Black-preferred candidates were defeated in

every election in the Third, Eleventh, and Fourteenth Congressional Districts, with

Black-preferred candidates prevailing only in the Thirteenth Congressional District,

where Black voters comprise a majority. Id. ¶¶ 7, 21. In short, Black voters’

candidates of choice are consistently defeated in the focus area by white bloc voting,

except where Black voters make up a majority of eligible voters—thus satisfying the

third Gingles precondition. See 478 U.S. at 68 (“Bloc voting by a white majority

tends to prove that blacks will generally be unable to elect representatives of their

choice.”).3


3
 Once again, these results are consistent with previous cases from across the state.
See, e.g., Whitest v. Crisp Cnty. Bd. of Educ., No. 1:17-CV-109 (LAG), 2021 WL
4483802, at *3 (M.D. Ga. Aug. 20, 2021) (“African Americans in Crisp County are
politically cohesive in elections for members of the Board of Education, but the


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      D.     Under the totality of circumstances, SB 2EX denies Black voters
             equal opportunity to elect their preferred candidates to Congress.

      Considering the “totality of circumstances,” SB 2EX denies Black Georgians

an equal opportunity to elect their preferred congressional representatives. 52 U.S.C.

§ 10301(b). Notably, “it will be only the very unusual case in which the plaintiffs

can establish the existence of the three Gingles [preconditions] but still have failed

to establish a violation of § 2 under the totality of the circumstances.” Ga. State Conf.

of NAACP v. Fayette Cnty. Bd. of Comm’rs, 775 F.3d 1336, 1342 (11th Cir. 2015)

(quoting Jenkins v. Red Clay Consol. Sch. Dist. Bd. of Educ., 4 F.3d 1103, 1135 (3d

Cir. 1993)). This is not an unusual case.

      The factors outlined in the Senate Judiciary Committee report accompanying

the 1982 Voting Rights Act amendments—the “Senate Factors”—are “typically

relevant to a § 2 claim” and guide this analysis. LULAC, 548 U.S. at 426; see also

Gingles, 478 U.S. at 36–37 (listing Senate Factors). They are not exclusive, and

“there is no requirement that any particular number of factors be proved, or that a



white majority votes sufficiently as a bloc to enable it to defeat the candidates
preferred by Black voters in elections for members of the Board of Education.”),
appeal docketed sub nom. Postell v. Crisp Cnty. Sch. Dist., No. 21-13268 (11th Cir.
Sept. 21, 2021); Wright, 301 F. Supp. 3d at 1317 (finding that “[t]he third Gingles
factor is satisfied” after concluding that “there can be no doubt black and white
voters consistently prefer different candidates” and that “white voters are usually
able to the defeat the candidate preferred by African Americans”).

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majority of them point one way or the other.” Gingles, 478 U.S. at 45 (quoting S.

Rep. No. 97-417, at 29 (1982)).

      Here, each of the relevant Senate Factors confirms that the congressional map

enacted by SB 2EX denies Black voters equal electoral opportunities.

             1.     Senate Factor One: Georgia has an ongoing history of
                    official, voting-related discrimination.

      “Georgia electoral history is marked by too many occasions where the State,

through its elected officials, enacted discriminatory measures designed to minimize

black voting strength.” Brooks v. State Bd. of Elections, 848 F. Supp. 1548, 1572

(S.D. Ga. 1994); see also, e.g., Fair Fight Action, Inc. v. Raffensperger, No. 1:18-

CV-5391-SCJ, slip op. at 41 (N.D. Ga. Nov. 15, 2021), ECF No. 636 (taking judicial

notice of fact that “prior to the 1990s, Georgia had a long sad history of racist policies

in a number of areas including voting”). As the Eleventh Circuit has similarly

acknowledged, “[t]he voting strength of blacks has historically been diminished in

Georgia in numerous ways, including property ownership requirements, literacy

tests, and the use of the county unit system which undermined the voting power of

counties with large black populations.” Brooks v. Miller, 158 F.3d 1230, 1233 (11th

Cir. 1998). These discriminatory actions have evolved over the years, but they have

persisted. As a result of the centuries-long effort to marginalize and disenfranchise

Black Georgians, they still lack equal access to the state’s political processes today.

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      As described in detail in the attached expert report of Dr. Orville Vernon

Burton, Georgia’s history features a sordid and recurring pattern: after periods of

increased nonwhite voter registration and turnout, the State finds methods to

disfranchise and reduce the influence of minority voters. Ex. 3 at 2, 8–9. Since

Reconstruction, these tactics have included poll taxes, a white-only primary system,

majority-vote requirements, and at-large districts. See id. at 2–3, 9–32.

      While the passage of the Voting Rights Act changed Georgia’s trajectory, it

did not stop the State from attempting to prevent the exercise of Black political

power. See id. at 32–40. Between 1965 and 1980, nearly 30 percent of the

Department of Justice’s objections to voting-related changes under Section 5 were

attributable to Georgia alone. Id. at 2–3, 36–37. When Congress reauthorized the

Voting Rights Act in 1982, it specifically cited systemic abuses by Georgia officials

intended to obstruct Black voting rights. Id. at 39–40.

      Georgia’s discrimination has also extended to its redistricting efforts. Even

after the county-unit system was invalidated, the state’s districting maps have been

plagued by vote dilution and racial discrimination. Federal courts invalidated

Georgia’s redistricting plans for voting rights violations several times. See Georgia

v. United States, 411 U.S. 526, 541 (1973) (affirming that Georgia’s 1972

reapportionment plan violated Section 5 of Voting Rights Act in part because it


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diluted Black vote in Atlanta-based congressional district to ensure election of white

candidate); Busbee v. Smith, 549 F. Supp. 494, 517 (D.D.C. 1982) (three-judge

panel) (denying preclearance based on evidence that Georgia’s redistricting plan was

product of purposeful discrimination in violation of Voting Rights Act), aff’d, 459

U.S. 1166 (1983); Larios v. Cox, 300 F. Supp. 2d 1320 (N.D. Ga. 2004) (per curiam)

(three-judge panel) (invalidating state legislative plans that reduced number of

majority-minority districts). And for four decades in a row, the Department of Justice

objected to reapportionment plans submitted by Georgia because the maps diluted

Black voting strength. See Ex. 3 at 37–38, 40–41; see also, e.g., Ex. 18 (1992

objection letter from Department of Justice asserting that “the submitted

[congressional] plan minimizes the electoral potential of large concentrations of

black population in several areas of the state”); Ex. 19 (1982 objection letter from

Department of Justice asserting that “the proposed [congressional] plan divides an

apparently cohesive black community of Fulton and DeKalb Counties”).

      Ultimately, as this Court has noted, “Georgia has a history chocked full of

racial discrimination at all levels. This discrimination was ratified into state

constitutions, enacted into state statutes, and promulgated in state policy. Racism

and race discrimination were apparent and conspicuous realities, the norm rather

than the exception.” Ga. State Conf. of NAACP v. Fayette Cnty. Bd. of Comm’rs,


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950 F. Supp. 2d 1294, 1314 (N.D. Ga. 2013) (quoting Brooks, 848 F. Supp. at 1560),

aff’d in part, rev’d in part on other grounds, 775 F.3d 1336 (11th Cir. 2015). But

racial discrimination in voting is not consigned to history books; efforts to dilute the

political power of Black Georgians persist today. During the past decade—and after

the U.S. Supreme Court effectively barred enforcement of the Section 5 preclearance

requirement in Shelby County v. Holder, 570 U.S. 529 (2013)—Georgia has slashed

polling places by the hundreds, primarily in Black communities; increased voter

purges and challenges against minority voters; and launched state-sponsored

investigations of minority voting groups. See Ex. 3 at 40–53. Georgia’s efforts to

discriminate against Black voters has simply not stopped.

             2.     Senate Factor Two: Georgia voters are racially polarized.

      Courts have repeatedly found that voting in Georgia is racially polarized. See,

e.g., Fayette Cnty., 775 F.3d at 1340 (noting that Fayette County “[v]oters’ candidate

preferences in general elections were racially polarized”); Ga. State Conf. of NAACP

v. Georgia, 312 F. Supp. 3d 1357, 1360 (N.D. Ga. 2018) (three-judge panel)

(concluding that “voting in Georgia is highly racially polarized”); Wright, 301 F.

Supp. 3d at 1319 (finding “Sumter County’s voters to be highly polarized”). These

findings were confirmed in the focus area by Dr. Palmer’s analysis discussed above,

see supra Sections I.B–C, which concluded that there is “strong evidence of racially


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polarized voting across the focus area” and “in each of the four individual

congressional districts” that comprise it. Ex. 2 ¶ 6.

             3.     Senate Factor Three: Georgia’s voting practices enhance the
                    opportunity for discrimination.

      As discussed above, Georgia has employed a variety of voting practices that

have discriminated against Black voters. See supra Section I.D.1; Ex. 3 (describing

Georgia’s use of majority-vote requirements, at-large districts, numbered posts, and

other discriminatory tactics). In particular, even though the U.S. Supreme Court has

specifically explained that the use of majority-vote requirements is meaningful

evidence of ongoing efforts to discriminate against minority voters, see Gingles, 478

U.S. at 45, Georgia continues to impose a majority-vote requirement in general

elections, including for elections to the U.S. House of Representatives. See Ex. 3 at

31, 35; O.C.G.A. § 21-2-501. The combination of a majority-vote requirement and

racially polarized voting ensures that Black voters cannot elect candidates of their

choice when they are a minority of a jurisdiction’s population, even when the white

vote is split. See Ex. 3 at 31, 35; see also City of Port Arthur v. United States, 459

U.S. 159, 167 (1982) (describing how such circumstances “permanently foreclose a

black candidate from being elected”).




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             4.     Senate Factor Four: Georgia has no history of candidate
                    slating for congressional elections.

      Because Georgia’s congressional elections do not use a slating process, this

factor has no relevance to Plaintiffs’ claim.

             5.     Senate Factor Five: Georgia’s discrimination has produced
                    severe socioeconomic disparities that impair Black
                    Georgians’ participation in the political process.

      Georgia’s Black community continues to suffer as a result of the state’s

history of discrimination. The findings of previous courts, see, e.g., Wright, 301 F.

Supp. 3d at 1320–21, have been confirmed by Dr. Loren Collingwood. He concluded

that, “[o]n every metric, Black Georgians are disadvantaged socioeconomically

relative to non-Hispanic White Georgians,” disparities that “have an adverse effect

on the ability of Black Georgians to participate in the political process, as measured

by voter turnout and other forms of political participation.” Ex. 4 at 3. While “the

burden is not on the plaintiffs to prove” that these disparities are “causing reduced

political participation,” United States v. Marengo Cnty. Comm’n, 731 F.2d 1546,

1569 (11th Cir. 1984), Dr. Collingwood has concluded that this is in fact the case,

explaining that “[t]he data show a significant relationship between turnout and

disparities in health, employment, and education; as health, education, and

employment outcomes increase, so does voter turnout in a material way.” Ex. 4 at 3.




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      The disparities and disadvantages experienced by Black Georgians impact

nearly every aspect of daily life:

      •      “The unemployment rate among Black Georgians (8.7%) is nearly

double that of White Georgians (4.4%).” Id. at 4.

      •      “White households are twice as likely as Black households to report an

annual income above $100,000.” Id.

      •      Black Georgians are more than twice as likely as white Georgians to

live below the poverty line—and Black children more than three times as likely. Id.

      •      Black Georgians are nearly three times more likely than White

Georgians to receive SNAP benefits. Id.

      •      Black adults are more likely than white adults to lack a high school

diploma—13.3 percent as compared to 9.4 percent. Id.

      •      Thirty-five percent of white Georgians over the age of 25 have obtained

a bachelor’s degree or higher, compared to only 24 percent of Black Georgians over

the age of 25. Id.

      Ultimately, Dr. Collingwood concluded that “the numbers convey consistent

racial disparities across economics, health, employment, and education”—

disparities that “hold across nearly every county in the state.” Id. at 4–5.




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      The evidence strongly suggests that the socioeconomic disparities imposed on

Black Georgians impacts their levels of political participation. As Dr. Collingwood

explained, “[t]here is vast literature in political science that demonstrates a strong

and consistent link between socio-economic status [] and voter turnout. In general,

voters with higher income and education are disproportionately likely to vote and

participate in American politics.” Id. at 6. This pattern can certainly be seen in

Georgia. Dr. Collingwood found that, in elections between 2010 and 2020, Black

Georgians consistently turned out to vote at lower rates than white Georgians—a

gap of at least 3.1 percent (during the 2012 general election) that reached its peak of

12.6 percent during the 2020 general election. Id. at 6–7. This trend can be seen at

the local level as well: during each general election, white voters exceeded the

turnout rates of Black voters in all but a handful of Georgia’s 159 counties, and of

1,957 precincts analyzed, white voters had higher rates of turnout in 79.2 percent of

precincts. See id. 7–12. Voter turnout in the Atlanta metropolitan area “is very

similar to the overall Georgia trend.” Id. at 12–14.

      Comparing rates of Black voter turnout with educational attainment, Dr.

Collingwood found that “each 10 percentage-point increase in the size of the Black

population without a high school degree decreases Black turnout by 3.5 percentage

points” and that “Black turnout rises 2.3 percentage points for each 10 percentage-


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point increase in percent Black 4-year degree.” Id. at 14–15. The pattern holds

between voter turnout and poverty: “Black turnout falls 4.9 percentage points for

each 10 percentage-point increase in percent Black below the poverty line,” id. at

16, confirming the link between socioeconomic disadvantage and depressed political

participation.4

             6.    Senate Factor Six: Both overt and subtle racial appeals are
                   prevalent in Georgia’s political campaigns.

      Federal courts have found evidence of racial appeals being deployed in

Georgia political campaigns, see, e.g., Cofield v. City of LaGrange, 969 F. Supp.

749, 777 (N.D. Ga. 1997), and evidence of such appeals abounds even today.

      As recounted in Plaintiffs’ complaint, see Compl. ¶¶ 56–67, and reported by

local, state, and national news outlets, see Exs. 20–31, the past five years have seen

frequent racial appeals in campaigns, targeting minority candidates with derogatory

language, racist tropes, and dog-whistle insinuations. The examples described in

these articles are just the most recent types of racially charged political campaigns




4
 This effect extends beyond voter turnout: Dr. Collingwood further found that white
Georgians are more likely than Black Georgians to participate in a range of political
activities, including attending local meetings, demonstrating political participation
through lawn signs and bumper stickers, working on campaigns, attending protests
and demonstrations, contacting public officials, and donating money to campaigns
and political causes. Ex. 4 at 17–21.

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that have tainted elections in Georgia throughout the state’s history—and, indeed,

continue to taint the state’s political process today.

             7.     Senate Factor Seven: Black candidates in Georgia are
                    underrepresented in office and rarely succeed outside of
                    majority-minority districts.

      As a consequence of Georgia’s history of voter suppression and racial

discrimination, Black Georgians have struggled to win election to public office.

      At the time of the Voting Rights Act’s passage, Black Georgians constituted

34 percent of the voting-age population, and yet the state had only three elected

Black officials. Ex. 3 at 32. By 1980, Black Georgians comprised only 3 percent of

county officials in the state, the vast majority of whom were elected from majority-

Black districts or counties. Id. at 38–39. That particular trend has not changed: while

more Black Georgians have been elected in recent years, those officials are almost

always from near-majority- or outright-majority-Black districts. In the most recent

General Assembly elections, for example, none of the House’s Black members was

elected from a district where white voters exceeded 55 percent of the voting-age

population, and none of the State Senate’s Black members was elected from a district

where white voters exceeded 47 percent of the voting-age population. See id. at 53–

54. Overall, although Black Georgians comprise 33 percent of the state’s population,

the Georgia Legislative Black Caucus has only 14 members in the State Senate—25


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percent of that chamber—and 41 members in the House—less than 23 percent of

that chamber. See Ex. 32. In early 2021, one news outlet reported that Georgia had

a total of only 66 Black legislators—less than 28 percent of the General Assembly.

See Ex. 33; see also Ex. 34.

      Black officials have been underrepresented across Georgia’s statewide offices

as well. Including the incumbent, the state has had 77 governors, none of whom has

been Black. See Exs. 35–36. Most recently, former House Minority Leader Abrams

lost to Governor Kemp in the 2018 gubernatorial election. And although Georgia

recently elected a Black U.S. senator, Senator Warnock is the first Black Georgian

to hold that office—after more than 230 years of white senators. See Ex. 37.

      In many areas of Georgia—including the focus area at issue in this case—

racially polarized voting continues to obstruct Black candidates’ election to office.

Indeed, in the past ten years, no Black-preferred candidate in a statewide election

garnered a majority of votes in the focus area at issue in this case. See Ex. 2 ¶ 21.

             8.     Senate Factor Eight: Georgia is not responsive to its Black
                    residents.

      Although the Eleventh Circuit has noted that “[u]nresponsiveness is

considerably less important under” a Section 2 results claim, see Marengo Cnty.

Comm’n, 731 F.2d at 1572, it is nonetheless true that Georgia has long neglected the

needs of its Black residents. On numerous issues, the State has refused to take actions

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that would have demonstrably bettered the lives—and thus increased the political

power—of its Black community. To give some examples of these ongoing

disparities, Black Georgians are more than twice as likely as white Georgians to be

denied unemployment benefits. See Ex. 38. The pregnancy-related mortality rate for

Black women in Georgia is more than three times the rate for white women. See

Ex. 39. And despite this and the other disparities in health care and outcomes

between Black and white Georgians, see supra Section I.D.5, Georgia’s decision to

forego Medicaid expansion has left hundreds of thousands of Georgians without

health insurance because they earn too much to qualify for Medicaid but too little to

qualify for health insurance subsidies—an estimated 60 percent of whom are Black

or Hispanic. See Ex. 40. On these issues, as with those discussed above, the State

has refused to take responsive steps to meet the needs of—and remedy the ills borne

by—Georgia’s Black community.

             9.    Senate Factor Nine: The justification for the new
                   congressional map is tenuous.

      Finally, no legitimate governmental interest justifies denying Black Georgians

the ability to elect candidates of their choice. SB 2EX was met with resounding

opposition from Black voters and legislators across the state, resulting in this suit

and others. See Exs. 41–42. The map-drawers and advocates of SB 2EX did not and

cannot justify the refusal to draw an additional majority-Black congressional district

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in the western Atlanta metropolitan area. Nor could they: drawing districts to

account for the numerosity and compactness of Georgia’s Black community,

including in this case’s focus area, is required by the Voting Rights Act.

II.    Plaintiffs and other Black Georgians will suffer irreparable harm absent
       a preliminary injunction.

       Plaintiffs are likely to suffer irreparable harm absent preliminary injunctive

relief. The candidate qualification period for the 2022 congressional elections is

scheduled to begin on March 7, 2022, with the primary election following on May

24. See O.C.G.A. § 21-2-132(d)(2); Exs. 16, 43. If this deadline and the elections

that follow occur under SB 2EX’s unlawful congressional map, then Black

Georgians’ voting rights will be unlawfully diluted—a violation of their fundamental

rights for which there is no adequate remedy. “[O]nce the election occurs, there can

be no do-over and no redress” for voters whose rights were violated. League of

Women Voters of N.C. v. North Carolina, 769 F.3d 224, 247 (4th Cir. 2014).

Accordingly, “[c]ourts routinely deem restrictions on fundamental voting rights

irreparable injury.” Id. (citing Obama for Am. v. Husted, 697 F.3d 423, 436 (6th Cir.

2012); Williams v. Salerno, 792 F.2d 323, 326 (2d Cir. 1986)).

III.   The balance of equities and the public interest favor injunctive relief.

       The balance of the equities and the public interest, which “merge when the

Government is the opposing party,” Nken v. Holder, 556 U.S. 418, 435 (2009), also

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strongly favor injunctive relief. As the Eleventh Circuit and this Court have

recognized, the “cautious protection of . . . franchise-related rights is without

question in the public interest.” Charles H. Wesley Educ. Found., Inc. v. Cox, 408

F.3d 1349, 1355 (11th Cir. 2005); see also Ga. State Conf. of NAACP v. Fayette

Cnty. Bd. of Comm’rs, 118 F. Supp. 3d 1338, 1348–49 (N.D. Ga. 2015) (“[T]he

public interest is best served by ensuring not simply that more voters have a chance

to vote but ensuring that all citizens . . . have an equal opportunity to elect the

representatives of their choice.”). And the public interest would most certainly be

disserved by an election conducted under an unlawful districting scheme. See Larios

v. Cox, 305 F. Supp. 2d 1335, 1344 (N.D. Ga. 2004) (per curiam) (three-judge panel).

                                  CONCLUSION

      For the foregoing reasons, Plaintiffs request that the Court preliminarily

enjoin implementation of SB 2EX and ensure the creation of an additional majority-

Black congressional district in the western Atlanta metropolitan area. Plaintiffs

further request that the Court expedite its consideration of this motion, including the

scheduling of any hearings, to ensure that necessary remedies are timely adopted and

a lawful congressional map is in place before the deadlines for this year’s midterm

elections.




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Dated: January 12, 2022             Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing PLAINTIFFS’ MEMORANDUM OF

LAW IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION has been

prepared in accordance with the font type and margin requirements of LR 5.1,

NDGa, using font type of Times New Roman and a point size of 14.

Dated: January 12, 2022                     Adam M. Sparks
                                            Counsel for Plaintiffs



                         CERTIFICATE OF SERVICE

      I hereby certify that I have on this date caused to be electronically filed a copy

of the foregoing PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF

MOTION FOR PRELIMINARY INJUNCTION with the Clerk of Court using the

CM/ECF system, which will automatically send e-mail notification of such filing to

counsel of record.

Dated: January 12, 2022                     Adam M. Sparks
                                            Counsel for Plaintiffs
